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15    and SYSCO SAN FRANCISCO, INC.
16
17                              UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
19
      HENRY HERNANDEZ, individually and acting           Case No. 16-cv-06723-JSC
20    in the interest of other current and former
      employees,                                         Hon. Jacqueline Scott Corley
21
22                   Plaintiffs,                         JOINT CASE MANAGEMENT
                                                         STATEMENT
23           vs.
                                                         Date: June 4, 2020
24
                                                         Time: 1:30 p.m.
      SYSCO CORPORATION, a Delaware
25    corporation; SYSCO SAN FRANCISCO, INC.,
      a California corporation, and DOES 1 through
26    20, inclusive,
27                   Defendants.
28                                                   1
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 1           Pursuant to Northern District Local Rule 16-9 and the Standing Order for All Judges of the
 2    Northern District of California, Plaintiff HENRY HERNANDEZ (“Plaintiff”), and Defendants
 3    SYSCO CORPORATION and SYSCO SAN FRANCISCO, INC. (“Sysco SF”) (together,
 4    “Defendants”) submit this Joint Case Management Statement for the upcoming June 9, 2020 Case
 5    Management Conference. However, the parties respectfully request that the Court continue the Case
 6    Management Conference for thirty (30) so that the Parties can finalize the Class Notice and
 7    mediation date to aid the Court in setting expert discovery deadlines, law and motion deadlines, and
 8    a new trial date.
 9    A.    STATUTORY BASIS FOR JURISDICTION & SERVICE
10           On October 18, 2016, Plaintiff filed this wage and hour class action against Defendants in

11    the California Superior Court of California, County of Alameda. On November 21, 2016,
12    Defendants simultaneously filed their Answer and their Notice of Removal under the Class Action
13    Fairness Act (CAFA), 28 U.S.C. § 1332(d)(2) (the case has more than 100 putative class members,
14    and the amount in controversy exceeds $5,000,000) with the Alameda County Superior Court.
15    Plaintiff’s complaint was thereafter removed to the United States District Court for the Northern
16    District of California. On December 21, 2016, Plaintiff filed his Motion to Remand this action to
17    the Superior Court in which it was originally filed. After considering all briefing permitted pursuant

18    to the Local Rules, the Court denied Plaintiff’s Motion to Remand on the grounds that Plaintiff had
19    not met his burden of demonstrating that the local controversy exception to CAFA applies in this
20    action. (Doc. 20.)
21           All parties in this matter have been served. Service on Defendants was accomplished on
22    October 21, 2016.
23    B.    SUMMARY OF FACTUAL AND LEGAL CONTENTIONS
24          Plaintiff’s Contentions
25           Plaintiff filed this putative wage-and-hour class action on behalf of himself and seeking to
26    represent a proposed class of all individuals who have been employed by Defendants in California
27    at any time since October 18, 2012. Plaintiff alleges that the putative class engaged in commercial
28                                                      2
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 1    foodstuff packaging and distribution for Defendants and were subjected to unlawful labor and
 2    payroll policies.
 3           Plaintiff alleges that Defendants violated various state and federal wage and hour laws.
 4    Specifically, Plaintiffs allege that Defendants: (1) failed to authorize and permit rest periods or to
 5    pay premium wages in lieu thereof, in violation of Labor Code section 226.7 and applicable
 6    Industrial Welfare Commission (IWC) Wage Orders; (2) failed to provide timely meal breaks or
 7    premium wages in lieu thereof in violation of Labor Code sections 226.7, 512 and the applicable
 8    IWC Wage Orders; (3) violated the minimum wage laws, Labor Code sections 1194(a), 1194.2, and
 9    1197; (4) failed to timely pay wages due at termination in violation of Labor Code sections 201, 202
10    and 203; (5) knowingly and intentionally failed to maintain and provide accurate wage statements

11    in violation of Labor Code sections 226(a), 1174 and 1175; and (6) violated Business & Professions
12    Code section 17200 et seq.
13           Plaintiff already prevailed on Defendants’ Motion for Judgment on the Pleadings regarding
14    preemption as stated above. To remind the Court: Plaintiff’s First (Rest Period Violations), Second
15    (Meal Period Violations), are not preempted by section 301 of the Labor Management Relations
16    Act (LMRA) because they arise solely under California state law and do not require interpretation
17    of the terms contained in the Collective Bargaining Agreement (CBA). Furthermore, neither the

18    Second nor the Third Causes of Action are exempted by Labor Code sections 512(e) and 514,
19    respectively, because the CBA fails to satisfy all the requirements set out in those sections to bar
20    Plaintiff from asserting those claims. However, aside from whether or not the CBA meets the
21    requirements of those Labor Code sections, the exemptions asserted by Defendants actually
22    constitute affirmative defense that Defendants bear the burden of proving, which are simply beyond
23    the scope of this Motion and premature at this stage in the proceedings. As a result, Plaintiff’s Fifth,
24    Sixth, and Seventh derivative Causes of Action properly state claims. Again, the preemption issue
25    was already decided by this Court, which only granted Defendants’ Motion vis-á-vis Plaintiff’s
26    claim for Overtime, which Plaintiff did not include in his First Amended Complaint following the
27    hearing on the Motion.
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 1           On February 3, 2020, the Court granted certification “of a narrowed off-the-clock claim for
 2    individuals who worked during their unpaid meal breaks as well as the derivative failure to pay
 3    wages at the end of employment and failure to provide accurate paystubs claims.” (Doc. 121.) The
 4    Court denied certification of Plaintiff’s proposed meal and rest period subclasses. Plaintiff thereafter
 5    sought reconsideration of the Court’s order and also filed a Petition for Permission to Appeal
 6    Pursuant to Federal rule of Civil Procedure 23(f) in the Ninth Circuit. Both the Motion for the
 7    Reconsideration and petition were denied. Plaintiff maintains that adjudication of the meal and rest
 8    period classes and the related derivative claims remain suitable for class treatment.
 9          Defendants’ Contentions
10           Defendants deny all of Plaintiff’s claims and deny that any class treatment is appropriate.

11    In addition, Sysco Corporation denies that it employed Plaintiff or the putative class members.
12    Plaintiff and the putative class members were employed only by Sysco SF, not Sysco Corporation.
13           The Court has already denied class certification as to Plaintiff’s meal and rest break claims.
14    To the extent that Plaintiff intends to pursue such meal and rest break claims on an individual basis,
15    Defendant maintains that such claims are preempted by the Labor Management Relations Act
16    (“LMRA”) and therefore should be dismissed. Further, Plaintiff’s wage statement claim fails to
17    state a cause of action because it is impermissibly premised on underlying claims for which damages

18    are claimed and would result in an improper, double recovery. As numerous courts have held,
19    including California Courts of Appeal, a wage statement claim cannot be derivative of underlying
20    claims for unpaid wages, meal breaks, and rest breaks. See Maldonado v. Epsilon Plastics, Inc., 22
21    Cal. App. 5th 1308, 1334-37 (2018); Naranjo v. Spectrum Security Services, Inc., 40 Cal. App. 5th
22    444, 464-75 (2019); see also Nguyen v. Baxter Healthcare Corp., 2011 WL 6018284, at *7-*8 (C.D.
23    Cal. Nov. 28, 2011); Jones v. Spherion Staffing LLC, 2012 WL 3264081, at *8-*9 (C.D. Cal. Aug.
24    7, 2012).
25    C.    DISCOVERY
26           On February 20, 2020, in light of the pending request in the Ninth Circuit, the Court vacated
27    the July 27, 2020 trial date and expert discovery deadlines. As stated above, the parties propose that
28                                                       4
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 1    the Court continue the Case Management Conference for thirty (30) days so that the Parties can
 2    finalize the Class Notice and confer on a mutually-agreeable mediation date to aid the Court in
 3    setting expert discovery deadlines, law and motion deadlines, and a new trial date.
 4    D.    PRIOR & ANTICIPATED MOTIONS & SCHEDULING OF MOTIONS
 5           On December 21, 2016, Plaintiff filed his Motion to Remand this action to Alameda County
 6    Superior Court. After considering all briefing permitted pursuant to the Local Rules, the Court
 7    denied Plaintiff’s Motion to Remand on the grounds that Plaintiff had not met his burden of
 8    demonstrating that the local controversy exception to CAFA applies in this action. (Doc. 20.)
 9           On April 28, 2017, the Court granted in part and denied in part Defendants’ Motion for
10    Judgment on the Pleadings, in which Defendant sought dismissal of all of Plaintiff’s causes of action

11    on the grounds that Plaintiff’s claims were either preempted by the Labor Management Relations
12    Act or else barred by California Labor Code sections 512 and 514. The Court granted Defendants’
13    Motion with respect to Plaintiff’s Third Cause of Action for Overtime Wages and denied
14    Defendants’ Motion in all other respects. On May 5, 2017, Plaintiff filed a First Amended
15    Complaint that conformed to the Court’s Order, and on May 25, 2017, Defendants submitted an
16    Answer to Plaintiff’s First Amended Complaint.
17           On September 13, 2019, Plaintiff filed his Motion for Class Certification. Defendants filed

18    their Opposition on October 18, 2019. Plaintiff filed his Reply Brief on November 8, 2019. A
19    hearing was held on December 5, 2019 before the Honorable Jaqueline S. Corley. On that same day,
20    the Court issued an Order Requesting Supplemental Briefing by the parties. The supplemental
21    briefing was filed and the Court issued its order regarding class certification on February 20, 2020,
22    certifying a narrowed off-the-clock subclass.
23           Plaintiff may file a Notice for Class Notice if the parties cannot stipulate to the class
24    definition and content of the Class Notice.
25    E.    RELATED CASES
26           Moreno v. Sysco San Francisco, Inc. et al., Alameda County Superior Court, Case No.
27    RG16840192 is a potentially related case.
28                                                     5
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 1    F.    SETTLEMENT & ADR
 2           The parties conducted a mediation with Michael Dickstein on October 17, 2017. The case
 3    did not resolve at mediation, but the parties are working with one another to schedule a second
 4    mediation session.
 5    G.    ESTIMATED LENGTH OF TRIAL
 6           The parties estimate the trial will take approximately 10-15 court days.
 7
 8    Respectfully submitted,
 9
      Dated: May 28, 2020                                  MALLISON & MARTINEZ
10

11
                                                           By: /s/ Liliana Garcia
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                                                           Stan S. Mallison
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                                                           Liliana Garcia
14
                                                           Attorneys for Plaintiff
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16
17    Dated: May 28, 2020                                  BAKER & HOSTETLER LLP

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                                                           By: /s/ Vartan S. Madoyan
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20                                                         Sabrina L. Shadi
                                                           Vartan S. Madoyan
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